Case 1:05-cv-00043 Document 84-2 Filed 10/24/08 Page1of2 Page loft

Gregory J. Koebel

From: Michael Dotts [michaeldotts@hotmail.com]
Sent: Tuesday, October 21, 2008 10:32 AM

To: Greg Koebel

Ce: Law Office

Subject: October 6 Email to G. Baka

Exhibit A

From: michaeldotts@hotmail.com

To: gbaka79@yahoo.com

CC: attorneys@saipan.com

Subject: Camacho vy. DPL

Date: Mon, 6 Oct 2008 13:68:35 +1000

Dear Greg,

 

Judge Munson gave the parties untit October 24 to try to work out a payment schedule so that a writ would not be
necessary. Would the government be willing to agree to a payment schedule? Tony Camacho needs same money now
but is willing to work out a payment plan for the balance.

Let me know.

st!

Mike

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information. It is intended only for fhe use of the person(s) named above. If you are not the intended recipient, you are
hereby notified that any review, dissemination, distribution or duplication of this communication is strictly prohibited. If you
are not the intended recipient, please notify us immediately at attorneys@saipan.com or by telephone at (670) 234-5684
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Exhibit “A”

10/21/2008

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Case 1:05-cv-00043 Document 84-2 Filed 10/24/08 Page 2 of 2 Pagel of!

Gregory J. Koebel

 

From: Michael Dotts [michaeldotts@hotmail.com]
Sent: Tuesday, October 21, 2008 10:32 AM

To: Greg Koebel

Ce: Law Office

Subject: October 13 Email to G, Baka

Exhibit B

 

From: michaetdotts@hotmail.com

To: gbaka79@yaheo.com

CC: attorneys@saipan.com

Subject: Camacho vs. DPL

Date: Mon, 13 Oct 2008 17:12:05 +1000

Dear Greg,

Congratulations on your appointment as Attorney General. J am sure you are busy but October 24 is quickly approaching.
I have a bench trial on October 20 and I am going off island October 21. Consequently, I want to start the ball rolling
now if we are going to work this matter out. Is there any desire by the government to discuss payment?

Just let me know.
Mike

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are not the intended recipient, please notify us immediately at attorneys@saipan.com or by telephone at (670) 234-5684
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Invite your mail contacts to join your friends list with Windows Live Spaces. It's easy! Try it!
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Exhibit “B”

16/21/2008
